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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

v. CRIMINAL NO. 04-10029-GAO

DANIEL E. CARPENTER

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RENEWED MOTION TO DISMISS MR. CARPENTER’S INDICTMENT
BASED ON VIOLATIONS OF THE DUE PROCESS CLAUSE AND
SPEEDY TRIAL CLAUSE OF THE CONSTITUTION
I. PRELIMINARY STATEMENT

While many people complain that they were born at the wrong time, Mr. Carpenter’s
misfortune was being indicted in September of 2004 for allegedly fraudulent conduct by Marty
Paley, who created a PowerPoint slide in 1998 that stated clients should ask their Qualified
Intermediary about “safety” - a word that is nowhere to be fotmd in the BPETCO Exchange
Agreements themselves, yet it is that PowerPoint slide on which the First Circuit based its
November 2013 decision to overturn Mr. Carpenter’s Second New Trial Order that was granted
on September 1, 2011. Mr. Carpenter is perhaps the only person in America to have had two
New Trial Orders appealed by the government, but this Motion is not about the Double Jeopardy
provision in 18 U.S.C. §3731, because Mr. Carpenter has already served his “time” yet is still
fighting the government over his fines, forfeitures, and freedom. Mr. Carpenter respectfully
suggests to the Couit that if he was indicted now for conduct alleged in 1998, he would bring a
Due Process Clause motion to dismiss the indictment, as opposed to the several Speedy Trial
Motions that Mr. Carpenter brought over the years from 2005 through 2014, and the Court would

probably grant that motion as Judge Zobel recently did in Unz'ted States v. Handa, 2017 WL

3082657 (D. Mass. 2017), which interestineg enough cites Mr. Carpenter’s case Um`tea' States v.

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Carpenter, 781 F.3d 599 (lst Cir. 2015) for an analysis of the Barker v. Wingo, 407 U.S. 514
(1972) factors.

Unlike Mr. Carpenter, the defendant in Handa could rely on recent decisions by the
Supreme Court such as Betterman v. Montana, 136 S.Ct. 1609 (2016), where the Supreme Court
established that there was no “Speedy Sentencing” right in the Speedy Trial Clause' of the
Constitution, but Justice Sotomayor suggested in her opinion that the standard for “Due Process
delay” in sentencing should be the familiar Barker factors: (1) the “[l]ength of the delay”; (2)
“the reason for the delay”; (3) “the defendant’s assertion of his right”; and (4) “prejudice to the
defendant.” See, e.g., Uniz‘ed States v. Irizarry-Colon, 848 F.3d 61, 67 (1st Cir. 2017), citing
Barker at 530. A delay of one year or more crosses the threshold and triggers the analysis of the
remaining Barker factors, but no one factor is determinative; rather, they are related factors
Which must be considered together with such other circumstances as may be relevant. In Mr.
Carpenter’s case, all four factors point to a dismissal of the Indictment With prejudice

First, the “length of total delay” in this case has been well over 14 years, and conceivably
as long as 19 years, so the first factor favors Mr. Carpenter. Second, the “reason for the delay”
for over _12 years has been the government’s unwarranted §3731 appeals as well as this Court’s
delays for over 38 months. See Carpenter at 612. Therefore, the second factor favors Mr.
Carpenter. Third, Mr. Carpenter has submitted no less than six separate motions laying out the
various speedy trial violations that have occurred in this case since it began, so the third factor
obviously favors Mr. Carpenter. No defendant in the history of the First Circuit has done more
Speedy Trial motions than Mr. Carpenter. Fourth, and most importantly, not only has this nearly
20-year nightmare resulted in the worst forms of prejudice against Mr. Carpenter in not only lost

business opportunities and public obloquy, but also by separate litigations being poisoned against

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him due to a presumption of guilt and “negative inferences.” As the Court knows well, both the
Court and the First Circuit have already ruled that Mr. Carpenter suffered "actual" prejudice in
addition to "presumptive" prejudice under the Speedy Trial standard of Barker v. Wingo, which
is the standard that Justice Sotomayor suggests should be used in the post-trial Due Process
analysis after Betterman.

There is no denying that “substantial prejudice” has resulted from the delay in this case.
Prejudice “should be assessed in the light of the interests of defendants which the speedy trial
right was designed to protect,” of which there are three: “(i) to prevent oppressive pretrial
incarceration; (ii) to minimize anxiety and concern of the accused; and (iii) to limit the
possibility that the defense will be irnpaired.” Barker at 532. As stated in Barker, the effect
delay has on a defendant’s ability to mount a defense is “the most serious” of the interests
protected by the right, as “the inability of a defendant adequately to prepare his case skews the
fairness of the entire system.” Barker at 532. The other three Barker prongs clearly favor Mr.
Carpenter, so that his Indictment should be dismissed forthwith with prejudice in the interests of
justice. Once the delay is over three years, it Should be deemed “presumptive prejudice.” See
Judge Lipez’s decision in the Third Circuit case of Unitea’ States v. Velazquez, 749 F.3d 161 (3d
Cir. 2014).

Surprisingly, the First Circuit’s decision in Irizarry-Colon vacating his conviction in
February of 2017 for Due Process and Speedy Trial violations came just after Mr. Carpenter’s
release from prison for a non-crime that he certainly did not commit based on recent famous
cases such as Um`z‘ea' States v. Countrywia'e, 822 F.3d 650 (2d Cir. 2016), Um`tea' States v.
Takhalov, 827 F.3d 1307 (1 lth Cir. 2016), and Um'ted States v. Weimert, 819 F.3d 351 (7th Cir.

2016); not to mention the recent First Circuit cases like Uniz‘ea’ States v. Tavares, 844 F.3d 46

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(lst Cir. 2016) (mailings were not in furtherance of the scheme to defraud), and Um'ted States v.
Berroa, 856 F.3d 141 (lst Cir. 2017), where the convictions of Puerto Rican doctors were
reversed because “under the government’s theory, any false statement in an application ..could
constitute a federal crime.” Berroa at 150.

As the Court knows better than anyone, at this late date, no one has shown Mr. Carpenter
lying to anyone, about anything, at any time. No one. None of the government’s filings in this
case point out a lie or a misrepresentation by Mr. Carpenter to anyone in writing or otherwise.
Yet the First Circuit had no problem reversing the conviction of the doctors in Berroa who
admittedly lied as well as the fraudsters in Tavares who really did commit a fraud, but did not
cause mailings in furtherance of the fraud (neither did Mr. Carpenter). In Irizarrjy-Colon, the
First Circuit reversed his conviction on Due Process and Speedy Trial grounds in February of
2017 and the District Court in Puerto Rico dismissed his indictment in August 2017 citing that
all four Barker factors weighed in his favor. Respectfully, the same can be said about Mr.
Carpenter, but Mr. Carpenter is basing this Motion on the concept of “presumptive prejudice” so
that what happened to Mr. Carpenter in Boston does not happen to anyone else in America again.
Mr. Carpenter respectfully submits to the Court that he was a victim of pre-indictment delay,
Constitutional Speedy Trial delay, §3161 Speedy Trial delay, and Betterman post-verdict Due
Process delay caused by the government not once, but twice. In the Supreme Court’s unanimous
decision in Moore v. Arizona, 414 U.S. 25 (1973), the “speedy trial” delay was only 28 months,
yet the “speedy trial - due process” delay alter my second trial was 38 months (see Carpenter at
612), and Rocky Moore was a convicted killer in a California prison, yet this was what the
Supreme Court had to say in Moore:

Moreover, prejudice to a defendant caused by delay in bringing him to trial is not
confined to the possible prejudice to his defense in those proceedings lnordinate delay,

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"wholly aside from possible prejudice to a defense on the merits, may `seriously interfere
with the defendant's liberty, whether he is free on bail or not, and . . . may disrupt his
employment, drain his financial resources, curtail his associations, subject him to public
obloquy, and create anxiety in him, his family and his fn`ends.' 'l`hese factors are more
Serious for some than for others, but they are inevitably present in every case to some
extent, for every defendant will either be incarcerated pending trial or on bail subject to
substantial restrictions on his liberty." Moore at 27 (internal citations omitted).
Therefore, Mr. Carpenter respectfully asks this Court to dismiss his Indictment based on
the Due Process and Speedy Trial implications of this case due to the 19 year delay from the
alleged criminal conduct in this case (the Paley PowerPoint marketing material), to the date of

this brief, with virtually all of this delay being attributable to the government

II. THE FIRST CIRCUIT’S DECISION IN IRIZARRY~COLON IN 2017
REQUIRES THE DISMISSAL OF MR. CARPENTER’S INDICTMENT

Like Mr. Carpenter, the defendant’S conduct in Irizarry-Colon happened between
September 1998 and September 2000 based on Hurricane George in 1998. Like Mr. Carpenter,
the defendant in Irizarry-Colon had more than one indictment Unlike Mr. Carpenter, the
defendant in Irz`zarry-Colon was able to take advantage of Bloate v. Um'ted States, 559 U.S. 196
(2010) and had his indictment dismissed on Speedy Trial grounds Both the government and the
defendant agreed that the length of the delay had to be measured across all four indictments and
therefore was “presumptively prejudicial” and triggered the full Barker analysis ln'zarry-Colon
had his conviction overturned in February of 2017 and had his indictment dismissed by the
District Court in August of 2017. Mr. Carpenter’s Second New Trial Order was overturned in
November 2013, more than eight years after his first trial ended in July of 2005. Clearly a
detailed side-by-side analysis of Mr. Carpenter’s case to Irz`zarrj)-Colon warrants the dismissal of

his Indictment in 2017 as well.

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CONCLUSION

Mr. Carpenter bears no ill will against anyone at this point, but the old saying “justice
delayed is justice denied” is painiiilly true in Mr. Carpenter’s case. Based on Irz'zarry-Colon and
Bloate, Mr. Carpenter should have had his Indictment dismissed twice - December 15, 2005 to
January 9, 2006 is 24 days plus the 58 days that all agree upon. The second delay that the First
Circuit does not mention in its 2015 decision is from September 1, 2011 to September 29, 2011,
when the government did its second appeal under §3731. Those 28 days plus the agreed 58 days
is 86 days So, under §3161, the Speedy Trial Clause, and under the Due Process Clause and
Irizarry-Colon, Mr. Carpenter is entitled to an immediate dismissal of his September 2004

Indictment.

ORAL ARGUMENT REOUESTED
l\/Ir. Carpenter respectfully requests oral argument on this Motion at the Court’s earliest
convenience, as a favorable decision here Will clear up a significant portion of the Court’s
Docket pertaining to Mr. Carpenter. Upon notice from the Court, Mr. Carpenter will retain

counsel to argue the case in front of this Court.

Respectfully Submitted,

/s/ Daniel E. Carpenter
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